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                Exhibit G
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                            In the Matter of:


                          State of WA, et al.


                                   vs


                            Trump, et al.


               _________________________


                         MICHELLE BULLS

                             April 03, 2025
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·1· · · · · · · ·UNITED STATES DISTRICT COURT
·2· · · · · · · WESTERN DISTRICT OF WASHINGTON
·3· · · · · · · WESTERN DISTRICT OF WASHINGTON
·4· · · · · · · · · · · · AT SEATTLE
·5· ·-------------------------------)
·6· ·STATE OF WASHINGTON, et al.,· ·) NO.2:25-cv-00244-LK
·7· · · · · · · · · · · Plaintiffs, )
·8· · · · · · ·v.· · · · · · · · · ·)
·9· ·DONALD J. TRUMP, in his· · · · )
10· ·official capacity as President )
11· ·of the United States, et al.,· )
12· · · · · · · · · · · Defendants. )
13· ·-------------------------------)
14· · · · · · · · · · · · · ·Washington, D.C.
15· · · · · · · · · · · · · ·Thursday, April 3, 2025
16
17· · · · Deposition of MICHELLE G. BULLS, a witness
18· ·herein, was called for examination by counsel for
19· ·Plaintiffs in the above-entitled matter, pursuant to
20· ·notice, the witness being first duly sworn by
21· ·BESS A. AVERY, a Notary Public in and for the
22· ·District of Columbia, taken at the offices of B&A
23· ·Litigation Services, 1029 Vermont Avenue, N.W.,
24· ·Washington, D.C., commencing at· 9:06 a.m., when
25· ·were present on behalf of the respective parties:

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·1· · · · · · ·A P P E A R A N C E S
·2· ·ON BEHALF OF THE PLAINTIFF STATE OF WASHINGTON:
·3· · · · WILLIAM MCGINTY, ESQ.
·4· · · · LAURYN K. FRAAS, ESQ.
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13· · · · VINITA B. ANDRAPALLIYAL, ESQ., SR. COUNSEL
14· · · · CHRISTIAN S. DANIEL, ESQ., TRIAL ATTORNEY
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20· · · · (202) 305-0845
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23
24· ·ALSO PRESENT:· Miranda Berge, Esq. - HHS
25· · · · · · · · · Anna Jacobs, Esq. - HHS

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·1· · · · · · · · · P R O C E E D I N G S
·2· · · · · · · · · · -· ·-· ·-· ·-· ·-
·3· · · · · · ·(Bulls Deposition Exhibit 1 was
·4· · · · · · · premarked.)
·5· ·Thereupon,
·6· · · · · · · · · · MICHELLE G. BULLS,
·7· ·was called as a witness by counsel for Plaintiffs,
·8· ·and, having been duly sworn by the Notary Public,
·9· ·was examined and testified as follows:
10· · · · · · · · · · · ·EXAMINATION
11· ·BY MR. McGINTY:
12· · · · Q· · Could you state your name and spell your
13· ·last name for the record, please.
14· · · · A· · Sure.· Michelle Bulls, B-U-L-L-S.
15· · · · Q· · Great.· And have you ever been deposed
16· ·before?
17· · · · A· · No.
18· · · · Q· · Okay.· So just in terms of ground rules,
19· ·we're here so that I can ask you some questions
20· ·about what you know about the case.· I'll ask you
21· ·questions and you'll answer them unless you're
22· ·instructed by counsel not to do so.
23· · · · · · ·Is that fair?
24· · · · A· · That's fair.
25· · · · Q· · Okay.· It's important we make a clear

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·1· · · · A· · The counsel.
·2· · · · Q· · Oh, yeah, yeah.· What I meant is, you
·3· ·talked to DOJ, you talked to OGC, Office of General
·4· ·Counsel?
·5· · · · A· · Yes.
·6· · · · Q· · And you talked to your husband?
·7· · · · A· · I talked to my husband.· And I alerted my
·8· ·supervisor, my current supervisor, that I had to
·9· ·come to the deposition.
10· · · · Q· · Okay.· And who is that?
11· · · · A· · Jon Lorsch.
12· · · · Q· · Jon Lorsch?· Can you spell that for me.
13· · · · A· · L-O-R-S-C-H.
14· · · · Q· · Okay.· And did you talk substantively
15· ·about what your testimony might be today?
16· · · · A· · No.
17· · · · Q· · Okay.· Did he ask any questions?
18· · · · A· · No.
19· · · · Q· · Okay.· Let's turn to the Subpoena that's
20· ·been marked as Exhibit 1.· So you got a copy of
21· ·this?
22· · · · A· · Yes.
23· · · · Q· · Okay.· And when did you get a copy?
24· · · · A· · I'm not sure.
25· · · · Q· · All right.· If you could turn to page 5 of

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·1· ·Exhibit 1, there's a numbered list titled, "Requests
·2· ·for Production."· Do you see that?
·3· · · · A· · Yes.
·4· · · · Q· · Did you review that before today?
·5· · · · A· · Yes.
·6· · · · Q· · Okay.· And what efforts did you make to
·7· ·collect the documents that were asked for here?
·8· · · · A· · I went through my e-mails and tried to
·9· ·find anything that I could provide.
10· · · · Q· · Okay.· And did you find e-mails that would
11· ·match the descriptions in this list?
12· · · · · · ·MS. ANDRAPALLIYAL:· Objection, calls for a
13· ·legal conclusion.
14· ·BY MR. McGINTY:
15· · · · Q· · You can answer.
16· · · · · · ·(Witness reviews document)
17· · · · · · ·THE WITNESS:· Yes.
18· ·BY MR. McGINTY:
19· · · · Q· · Okay.· What e-mails were those?
20· · · · A· · The e-mail that I sent to -- oh.· Well,
21· ·the e-mails that I received related to the
22· ·termination.
23· · · · Q· · Mm-hmm.
24· · · · A· · The e-mails that I sent to the Chief
25· ·Grants Management Officers related to the

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·1· · · · · · ·Did you get copies of those documents so
·2· ·you could verify that you had -- to see if you had
·3· ·other copies of those versions of documents?
·4· · · · A· · No.
·5· · · · Q· · You didn't get copies of those?
·6· · · · A· · I don't recall.
·7· · · · Q· · Okay.· So Number 2 asks for all drafts in
·8· ·your possession, custody, or control of the document
·9· ·titled "Staff Guidance - Award Assessments for
10· ·Alignment with Agency Priorities - March 2025."
11· · · · · · ·Do you know what document that's talking
12· ·about, Staff Guidance - Award Assessments for
13· ·Alignment with Agency Priorities?
14· · · · A· · Yes.
15· · · · Q· · Okay.· And do you have a copy of that?
16· · · · A· · Yes.
17· · · · Q· · Okay.· And did you give that to counsel?
18· · · · A· · Yes.
19· · · · Q· · Okay.· How many versions of that exist?
20· · · · A· · At the time I gave it to counsel or today?
21· · · · Q· · Today.
22· · · · A· · Probably two or three.
23· · · · Q· · Two or three versions of that exist?
24· · · · A· · Maybe -- yeah, I'll say three.
25· · · · Q· · Three?· Three that exist.

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·1· ·don't know.· And there's a final that's forthcoming?
·2· · · · A· · Yes.· It's been an evolving document.· And
·3· ·so, like I said, some of them were -- some of the IC
·4· ·staff were comfortable in using the document, some
·5· ·of the staff were, decided that they were going to
·6· ·stop and wait for the final document.· So it's been
·7· ·a bit of back and forth.
·8· · · · Q· · Okay.· And "IC," Institute/Centers?
·9· · · · A· · Institutes and Centers.
10· · · · Q· · Thank you.
11· · · · A· · You're welcome.
12· · · · Q· · Let's see.· And then item Number 3 asks
13· ·for all communications made to or by you related to
14· ·documents identified in Requests for Production 1
15· ·and 2.
16· · · · · · ·It sounds like there was lots of
17· ·communications to and by you about all of these
18· ·documents.· Is that right?
19· · · · A· · Yes.
20· · · · Q· · Okay.· And did you collect all of those
21· ·communications?
22· · · · A· · I believe I did.
23· · · · Q· · Okay.· And you gave them to counsel?
24· · · · A· · I believe I did.
25· · · · Q· · Okay.· Let's see.· And then all documents

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·1· ·in your possession, custody, or control, including
·2· ·communications made to or by you, related to
·3· ·termination of NIH Grant No. -- and then there's a
·4· ·grant number there -- 5R21HD107311.· That's the
·5· ·document we were just talking about with Kym Ahrens
·6· ·as the principal investigator.· Is that right?
·7· · · · A· · I do recognize the grant number, yes.
·8· · · · Q· · Okay.· And it sounds like there's all
·9· ·kinds of documents that would be responsive to that
10· ·one, too?
11· · · · A· · Correct.
12· · · · Q· · Okay.· And you gave those to counsel?
13· · · · A· · I --
14· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· Just a
15· ·standing objection here to the extent that we're
16· ·going through all these requests that are calling
17· ·for a legal conclusion where you're asking her
18· ·whether she has collected all of the documents
19· ·responsive to these requests.
20· · · · · · ·MR. McGINTY:· Are you instructing the
21· ·witness not to answer?
22· · · · · · ·MS. ANDRAPALLIYAL:· No.
23· ·BY MR. McGINTY:
24· · · · Q· · Could you repeat your last answer for me.
25· · · · A· · Can you repeat the question.

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·1· · · · Q· · Yes.· I think I just asked you if you gave
·2· ·them to counsel.
·3· · · · A· · I believe so.
·4· · · · Q· · Okay.· So next one asks for all documents
·5· ·in your possession, custody, or control related to
·6· ·NIH's claims that research programs based on gender
·7· ·identity are often unscientific, have little
·8· ·identifiable return on investment, and do nothing to
·9· ·enhance the health of many Americans.· Many such
10· ·studies ignore, rather than seriously examine,
11· ·biological realities.
12· · · · · · ·Did you look for documents related to that
13· ·request?
14· · · · A· · Yes.
15· · · · Q· · Did you find any?
16· · · · A· · It was in the termination letter.· That
17· ·was the language in the termination letter that was
18· ·provided to me.
19· · · · Q· · Okay.· Anything else?
20· · · · A· · No.
21· · · · Q· · Okay.· Number 6 asks for all documents in
22· ·your possession, custody, or control related to
23· ·NIH's claim that it is the policy of NIH not to
24· ·prioritize these research programs.· Do you see
25· ·that?

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·1· · · · A· · Yes.
·2· · · · Q· · And did you search for documents like
·3· ·that?
·4· · · · A· · I provided the documents that likely had
·5· ·this in it, but I was not searching for this
·6· ·specific document, if that makes sense.
·7· · · · Q· · Okay.· You were looking for documents that
·8· ·had that quoted language?
·9· · · · A· · Not the quoted language.· I looked for
10· ·documents that surrounded the termination, and if
11· ·the termination was based on this, it had that in
12· ·it.· I wasn't looking specifically for this, if that
13· ·makes sense.· I gave what I had and what I received,
14· ·and I -- that's what I gave.
15· · · · Q· · Okay.· I guess my question is:
16· · · · · · ·What this is asking for is documents
17· ·that's related to the claim that it is the policy of
18· ·NIH not to prioritize these research programs, so
19· ·did you look for any documents about NIH policy?
20· · · · A· · No, I looked for documents related to the
21· ·termination.
22· · · · Q· · Okay.· Did you look for any documents
23· ·related to the policy that animated the termination?
24· · · · A· · No, I looked for the documents, the letter
25· ·that terminated the grant.

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·1· · · · Q· · Okay.· Thank you.
·2· · · · · · ·So moving on to Number 7.· This one asks
·3· ·for all documents in your possession, custody, or
·4· ·control related to NIH's claims that this award
·5· ·related to transgender issue no longer
·6· ·effectuates agency priorities.
·7· · · · · · ·So did you look for any documents about
·8· ·NIH priorities in response to this question?
·9· · · · A· · I looked for the termination documents
10· ·that may have included that language, but I did not
11· ·look for that language.
12· · · · Q· · Okay.· You didn't look for any documents
13· ·about whether or not it is the policy, or, excuse
14· ·me, the priority of NIH to fund studies and research
15· ·related to transgender issues?
16· · · · A· · No, I provided the documents that was
17· ·provided to me that may have included that.· I did
18· ·not search for that.
19· · · · Q· · Okay.· The next one asks for all documents
20· ·in your possession, custody, or control that include
21· ·descriptions of policies, procedures, or guidance
22· ·regarding termination of NIH grants dated between
23· ·January 20, 2025 and March 6, 2025.· Do you see
24· ·that?
25· · · · A· · Mm-hmm.

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·1· · · · Q· · Did you look for those kinds of documents?
·2· · · · A· · Yes, I provided all of the documents that,
·3· ·regarding the termination.
·4· · · · Q· · Okay.· And would this have included the
·5· ·document that we were just talking about a minute
·6· ·ago, the Staff Guidance Award Assessments?· Would it
·7· ·have included that one?
·8· · · · A· · Yes.
·9· · · · Q· · Okay.· Are there any other documents about
10· ·agency priorities or policies that are dated in that
11· ·range having to do with grant termination?
12· · · · A· · No, not that I recall.
13· · · · Q· · Okay.· The next one asks for all documents
14· ·in your possession, custody, or control including
15· ·communications, policy statements, or guidance
16· ·documents related to or referencing two Executive
17· ·Orders.· Do you see that there?
18· · · · A· · Yes.
19· · · · Q· · And did you search for those documents?
20· · · · A· · I provided the documents that led up to
21· ·the termination.· That's all I provided.
22· · · · Q· · Okay.· In response to this request
23· ·specifically?
24· · · · A· · In response to the request for me to
25· ·provide all documentation that led up to, all the

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·1· ·way through the termination.· That's what I
·2· ·provided.
·3· · · · Q· · Okay.· How about documents that relate to
·4· ·or reference these two Executive Orders, did you
·5· ·search for that?
·6· · · · A· · If it was a part of the termination
·7· ·package communication, I did provide it.· But I
·8· ·don't know that I searched for the Executive -- like
·9· ·I didn't provide the Executive Order, I don't
10· ·believe.
11· · · · Q· · Okay.· So you searched for documents that
12· ·would have related to the termination we've been
13· ·talking about, but not necessarily anything else?
14· · · · A· · Correct.
15· · · · Q· · Okay.· Did you search for any documents or
16· ·any communications between you and any person
17· ·affiliated with the Department of Government
18· ·Efficiency?
19· · · · A· · I provided all the e-mails, all of the
20· ·communications, and if that was a part of it, that
21· ·is part of that package.· I didn't look for any
22· ·communications with Department of Government
23· ·Efficiency.
24· · · · Q· · Okay.· Were there such communications?
25· · · · A· · There was no communication between, that I

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·1· ·can, that I know of, directly between me and anyone
·2· ·in the Department of Government Efficiency.· They
·3· ·may have been copied on the e-mail, but not with me.
·4· · · · Q· · Okay.· Sitting here today, can you
·5· ·recollect any e-mails that they were copied on?
·6· · · · A· · Yes, one.
·7· · · · Q· · Okay.· Can you describe that e-mail for
·8· ·me?
·9· · · · A· · I believe that was the e-mail that
10· ·included a list of grants to be terminated.
11· · · · Q· · Okay.· So you got an e-mail.· Was it from
12· ·someone at the Department of Government Efficiency?
13· · · · A· · No.
14· · · · Q· · No.· They were copied on one.· Who was
15· ·sending that e-mail?
16· · · · A· · The e-mail that I received was from,
17· ·between me and my supervisor, and there was a string
18· ·below it.· So I wasn't directly on the e-mail with
19· ·that individual, it was forwarded to me with a list
20· ·of the terminations.
21· · · · Q· · I see.· And who was your supervisor at the
22· ·time?
23· · · · A· · Liza Bundesen.
24· · · · Q· · That was Liza Bundesen?
25· · · · A· · Yeah.

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·1· · · · Q· · And she was given a list of terminations?
·2· · · · A· · Correct.
·3· · · · Q· · And that list came from someone at the
·4· ·Department of Government Efficiency?
·5· · · · A· · That list came from Rachel Riley.
·6· · · · Q· · Okay.
·7· · · · A· · And her address was from HHS Office of the
·8· ·Secretary.
·9· · · · Q· · Thank you.· And the Department of
10· ·Government Efficiency was -- how were they involved
11· ·in that e-mail?
12· · · · A· · Copied.
13· · · · Q· · They were cc'd?
14· · · · A· · I believe.
15· · · · Q· · Okay.· So Rachel Riley at HHS sent it to
16· ·Liza Bundesen, who sent it to you.· Is that right?
17· · · · A· · Yes.
18· · · · Q· · Okay.· Can you remember anybody else who
19· ·was included on that e-mail?
20· · · · A· · Not that particular e-mail.· Because one
21· ·of the e-mails came from Dr. Memoli, so those were
22· ·two separate strings, but both termination e-mails.
23· · · · Q· · Oh, okay.· So there's another set of
24· ·terminations.· Am I understanding that right?
25· · · · A· · It was the same -- yes, yes.

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·1· · · · Q· · Okay.· And that one came from Dr. Memoli?
·2· · · · A· · Yes.
·3· · · · Q· · But that was -- did it come from the same
·4· ·person at HHS?
·5· · · · A· · Yes, it came from the same person at HHS
·6· ·to Dr. Memoli that was forwarded to Liza.
·7· · · · Q· · I see.· And who is the person in the
·8· ·Department of Government Efficiency who was copied?
·9· · · · A· · I believe his name was Brad.
10· · · · Q· · Brad.· Don't remember the last name?
11· · · · A· · I don't.
12· · · · Q· · Okay, fine.· Okay.
13· · · · · · ·So it sounds like there's at least two
14· ·e-mails that copied someone at the Department of
15· ·Government Efficiency.· One was forwarded to you by
16· ·Dr. Bundesen, one was forwarded to you by
17· ·Dr. Memoli.· Are there any others?
18· · · · A· · Dr. Memoli didn't forward the e-mail
19· ·directly to me.
20· · · · Q· · Oh.
21· · · · A· · He forwarded it to Liza Bundesen, who
22· ·forwarded it to me.
23· · · · Q· · I see.· Thank you for that clarification.
24· · · · A· · You are welcome.
25· · · · Q· · Are there any others?

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·1· · · · A· · No.
·2· · · · Q· · Okay.· Just the two?
·3· · · · A· · (Nodding head)
·4· · · · Q· · Okay.
·5· · · · A· · Yes.
·6· · · · Q· · Thank you so much.· I did not ask you to
·7· ·verbally answer the questions, and I should have
·8· ·done so, so thank you so much for remembering to do
·9· ·that.
10· · · · A· · You're welcome.
11· · · · Q· · We also asked for a copy of your CV and
12· ·your resume.· Did you give that to counsel?
13· · · · A· · Yes.
14· · · · · · ·MR. McGINTY:· Counsel, do you have any of
15· ·those documents to provide today?
16· · · · · · ·MS. ANDRAPALLIYAL:· Yes.· I believe we've
17· ·provided you a copy of Ms. Bulls' CV.
18· · · · · · ·(Document tendered to Mr. McGinty)
19· · · · · · ·MR. McGINTY:· Thank you.· Okay.· Let's go
20· ·ahead and mark this Exhibit 2.
21· · · · · · ·(Bulls Deposition Exhibit 2 was marked for
22· · · · · · · identification.)
23· · · · · · ·MR. McGINTY:· Counsel, would it be
24· ·possible to get a second copy of this?
25· · · · · · ·MR. BOMBARD:· For the witness?

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·1· ·2011.· Did I get that right?
·2· · · · A· · 2012.
·3· · · · Q· · 2012.· So since 2012, there's been one or
·4· ·two noncompliance terminations until about
·5· ·January 20th, 2025.· Is that right?
·6· · · · A· · Yeah.· And it's probably more than one,
·7· ·for sure, and less than a handful.· So I don't
·8· ·recall, so I apologize, but I just know that that's
·9· ·not what we normally do.· And, yes, the answer to
10· ·the question is whether -- actually --
11· · · · Q· · What were you going to say?
12· · · · A· · No, I need you to repeat the question
13· ·again, because I want to make sure I don't restate
14· ·it incorrectly.
15· · · · Q· · Sure.· No, that's fair, that's fair.
16· · · · · · ·My question was just between when you were
17· ·appointed director in 2012 until January 20, 2025,
18· ·there's been, I think you clarified, more than one
19· ·but less than ten noncompliance terminations.                                I
20· ·think that's what your testimony was.
21· · · · A· · My testimony was it doesn't happen often,
22· ·more than one and probably less than five.
23· · · · Q· · More than one, less than five.· Okay.
24· · · · · · ·And since January 20, 2025, to the present
25· ·date, how many noncompliance terminations have there

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·1· ·been?
·2· · · · A· · Zero.
·3· · · · Q· · Oh, okay.· None at all.· Were they all the
·4· ·bilateral terminations you were just talking about?
·5· · · · A· · We had some bilateral terminations between
·6· ·January, yes.
·7· · · · Q· · Okay.
·8· · · · A· · And I don't recall the number, but not any
·9· ·noncompliance.
10· · · · Q· · So then the thread we were talking about
11· ·with Dr. Kym Ahrens, it's been reinstated now, but
12· ·when it was terminated, what kind of termination was
13· ·that?
14· · · · A· · A termination that was provided to me, to
15· ·this -- yeah.
16· · · · Q· · Okay.· It was neither noncompliant nor was
17· ·it bilateral?
18· · · · A· · Correct.
19· · · · Q· · Okay.· It was a different kind of
20· ·termination?
21· · · · A· · Correct.
22· · · · Q· · How many of that kind of termination was
23· ·there between when you were appointed director of
24· ·OPERA until January 20, 2025?
25· · · · A· · Zero.

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·1· · · · Q· · Zero.· That never happened before?
·2· · · · A· · I'm sorry, let me restate.· There was one
·3· ·termination that happened that way, but it was --
·4· ·the grant was reinstated as well.· That, yes.
·5· · · · Q· · Okay.· Which one was that?
·6· · · · A· · That was one under the first Trump
·7· ·Administration for the Eco Health Alliance.
·8· · · · Q· · Okay.· Do you know why that one was
·9· ·reinstated?
10· · · · A· · No.
11· · · · Q· · Okay.· Okay.· You just stated that this
12· ·particular kind of termination, like for a
13· ·Dr. Ahrens, was provided to you.· Who provided it?
14· · · · A· · Liza Bundesen, my supervisor.
15· · · · Q· · Okay.· And I think you said it was
16· ·provided by someone in HHS, I forget her name,
17· ·Rachel something?
18· · · · A· · Rachel Riley.
19· · · · Q· · Rachel Riley?
20· · · · A· · Correct.
21· · · · Q· · Okay.· And just to clarify, Rachel Riley
22· ·provided that list to Liza Bundesen, and that
23· ·included the termination to Dr. Ahrens?
24· · · · A· · Correct.
25· · · · Q· · Okay.

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·1· ·basis of agency priorities, haven't they?
·2· · · · A· · Yes.
·3· · · · Q· · But you don't have agency priorities that
·4· ·are final?
·5· · · · A· · I have letters that I've been asked to
·6· ·send.
·7· · · · Q· · Okay.
·8· · · · · · ·MR. McGINTY:· Can I mark this as Exhibit
·9· ·4, please.
10· · · · · · ·(Bulls Deposition Exhibit 4 was marked for
11· · · · · · · identification.)
12· ·BY MR. McGINTY:
13· · · · Q· · I'm passing to you what has been marked
14· ·Exhibit 4, and do you recognize this document?
15· · · · A· · Yes.
16· · · · Q· · And what is it?
17· · · · A· · A termination letter.
18· · · · Q· · This is one of those letters that you've
19· ·been asked to send that you were just talking about?
20· · · · A· · Yes.
21· · · · Q· · And you signed this letter, right?
22· · · · A· · Yes.
23· · · · Q· · Okay.· And why did you send this letter?
24· · · · A· · I was asked to send it.
25· · · · Q· · Who asked you to send it?

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·1· · · · A· · My supervisor.
·2· · · · Q· · Okay.· And who is that?
·3· · · · A· · At the time, Liza Bundesen.
·4· · · · Q· · Okay.· How did she ask you to send it?
·5· · · · A· · Via e-mail.
·6· · · · Q· · Did she tell you why she was asking you to
·7· ·send it?
·8· · · · A· · Yes.
·9· · · · Q· · Okay.· And what did she say?
10· · · · A· · That we were asked to terminate grants.
11· · · · Q· · Did she tell you why you were asked to
12· ·terminate grants?
13· · · · A· · She did not.
14· · · · Q· · Okay.
15· · · · A· · Can I correct the statement?
16· · · · · · ·The e-mail that I received from
17· ·Liza Bundesen indicated that we needed to terminate
18· ·the grants, and the language in the letters were
19· ·provided so I didn't question, I just followed the
20· ·directive.
21· · · · Q· · Okay.
22· · · · A· · She didn't say:· Terminate the grant
23· ·because of.· She said:· The list below.· So I just
24· ·wanted to be clear about that.
25· · · · Q· · Okay.· And did you provide this e-mail to

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·1· ·counsel?
·2· · · · A· · Yes.
·3· · · · Q· · Okay.· And "the list is below," list of
·4· ·what?
·5· · · · A· · Awards to be terminated.
·6· · · · Q· · Okay.· And is that the same list that you
·7· ·were talking about earlier that came from
·8· ·Rachel Riley?
·9· · · · A· · That was on the same e-mail, yes.
10· · · · Q· · Okay.· And Brad may have been copied on
11· ·that e-mail?
12· · · · A· · I don't know if Brad was on that e-mail
13· ·string.
14· · · · Q· · Okay.
15· · · · A· · I can't recall.
16· · · · Q· · Brad was on one of the e-mail strings?
17· · · · A· · Correct.
18· · · · Q· · Do you remember if it was Brad Smith?
19· · · · A· · I know for sure Brad.
20· · · · Q· · Okay.· Definitely Brad.· It might have
21· ·been Brad Smith, it might have been Brad someone
22· ·else?
23· · · · A· · Yes.
24· · · · Q· · Okay.· And you said the language was
25· ·provided.· What do you mean by "the language was

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·1· ·provided"?
·2· · · · A· · The letter.· There were template letters.
·3· · · · Q· · So the entirety of the letter language?
·4· · · · A· · Correct.
·5· · · · Q· · Okay.· So take a look at the first
·6· ·paragraph here:
·7· · · · · · ·"Funding for Project Number," and then
·8· · · · · · · there's a number," is hereby terminated
·9· · · · · · · pursuant to the 2022 National Institutes
10· · · · · · · of Health Grants Policy Statement," and
11· · · · · · · C.F.R., a CFR section.· "This letter
12· · · · · · · constitutes a notice of termination."
13· · · · · · ·You did not write that language?
14· · · · A· · No.
15· · · · Q· · You didn't write any word in this letter?
16· · · · A· · Just the signature.
17· · · · Q· · Okay.· You wrote your name?
18· · · · A· · Correct.· I mean, I -- yes, I wrote my
19· ·name and signed it.
20· · · · Q· · Okay.· And you don't know why this letter
21· ·was sent?
22· · · · A· · To terminate the grant.
23· · · · Q· · Okay.· But you don't know what agency
24· ·priorities are intended to be served by terminating
25· ·this grant?

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·1· · · · A· · I didn't ask the question and I was not
·2· ·told, I sent the letter as it was.
·3· · · · Q· · Okay.· Did Rachel Riley provide the
·4· ·templates that you used?
·5· · · · A· · Yes.
·6· · · · Q· · So it says here -- actually, can you read
·7· ·the fourth paragraph, the one that starts with,
·8· ·"This award no longer effectuates."
·9· · · · A· · "This award no longer effectuates agency
10· · · · · · · priorities.· NIH is obligated to
11· · · · · · · carefully steward grant awards to ensure
12· · · · · · · taxpayer dollars are used in ways that
13· · · · · · · benefit the American people and improve
14· · · · · · · their quality of life.· Your project does
15· · · · · · · not satisfy these criteria.· Research
16· · · · · · · programs based on gender identity are
17· · · · · · · often unscientific, have little
18· · · · · · · identifiable return on investment, and do
19· · · · · · · nothing to enhance the health of many
20· · · · · · · Americans.· Many such studies ignore,
21· · · · · · · rather than seriously examine, biological
22· · · · · · · realities.· It is the policy of NIH not
23· · · · · · · to prioritize these research programs."
24· · · · Q· · Okay.· And this was part of the template
25· ·letter that Rachel Riley provided?

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·1· · · · A· · Yes.
·2· · · · Q· · Are you aware of -- let me strike that.
·3· · · · · · ·Did NIH have any ability to alter this
·4· ·language in any way?
·5· · · · A· · Did we have the ability?
·6· · · · · · ·MS. ANDRAPALLIYAL:· Objection, assumes
·7· ·facts not in evidence.
·8· ·BY MR. McGINTY:
·9· · · · Q· · Was this edited in any way from the
10· ·template letter that Rachel Riley provided?
11· · · · A· · No.
12· · · · Q· · Okay.· It says, "Your project does not
13· ·satisfy these criteria."· Do you see that there?
14· · · · A· · Yeah.
15· · · · Q· · Are you aware of any assessment of
16· ·Dr. Ahrens' grant in particular that was made to see
17· ·if her grant satisfied the criteria?
18· · · · A· · No.
19· · · · Q· · Would you have been aware of such
20· ·assessment if one had been made?
21· · · · A· · I don't know.
22· · · · Q· · Okay.· Would you have been aware of such
23· ·an assessment if one had been made by NIH?
24· · · · A· · Yes.
25· · · · Q· · And it says, "Research programs based on

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·1· ·gender identity are often unscientific with little
·2· ·identifiable return on investment, and do nothing to
·3· ·enhance the health of many Americans."
·4· · · · · · ·Did NIH do any assessment of this
·5· ·particular grant to see if it was unscientific?
·6· · · · A· · I don't know.· The letter was provided and
·7· ·it was sent.· I don't know what happened before
·8· ·that.
·9· · · · Q· · Well, did NIH do any assessment?
10· · · · A· · I don't know.
11· · · · Q· · You don't know if NIH did an assessment to
12· ·see if Dr. Ahrens' grant was scientific or not?
13· · · · A· · Are you talking about -- I don't
14· ·understand your question, sorry.
15· · · · Q· · Well, it says in this letter, and I
16· ·understand you didn't write it, but you signed it,
17· ·"Research programs based on gender identity are
18· ·often unscientific."· And that was the reason this
19· ·particular grant was terminated.
20· · · · · · ·Is that right?
21· · · · A· · That's what the letter says.
22· · · · Q· · That's what the letter says.· So I'm
23· ·trying to figure out whether or not there was any
24· ·basis to think that Dr. Ahrens' grant was
25· ·unscientific.

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·1· · · · A· · I don't know.
·2· · · · Q· · Okay.· And do you know if there was any
·3· ·assessment to see if it had an identifiable return
·4· ·on investment?
·5· · · · A· · No, I don't know.
·6· · · · Q· · Do you know if NIH did one?
·7· · · · A· · I don't know.
·8· · · · Q· · Okay.· Would you have been aware if NIH
·9· ·did one?
10· · · · A· · I'm not sure.
11· · · · Q· · Okay.· And it also says, "and do nothing
12· ·to enhance the health of many Americans."
13· · · · · · ·Do you know if NIH did any assessment to
14· ·see if Dr. Ahrens' grant would enhance the health of
15· ·many Americans?
16· · · · A· · I don't know.
17· · · · Q· · Okay.· Was this the only template language
18· ·that Rachel Riley provided?
19· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· To the
20· ·extent that you're calling for draft language that
21· ·wasn't finalized, that's privileged, and I instruct
22· ·the witness not to answer.
23· ·BY MR. McGINTY:
24· · · · Q· · I'll clarify.
25· · · · · · ·Did Rachel Riley provide any other

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·1· ·template letters that were sent?
·2· · · · A· · Yes.
·3· · · · Q· · Okay.· What were those template letters
·4· ·about?
·5· · · · A· · In that list, I don't recall.
·6· · · · Q· · How about any list for letters that had
·7· ·been sent?
·8· · · · A· · DEI activities, this language.· I think
·9· ·one on China.· I don't know.· That's it that I can
10· ·recall, and I'm sure I'm blanking right now.
11· · · · Q· · So what you remember is the gender
12· ·identity language, the DEI language, and the China
13· ·language.
14· · · · · · ·Was there language on vaccine hesitancy
15· ·that was used?
16· · · · A· · In that batch, no.
17· · · · Q· · Any batch that's been sent?
18· · · · A· · Yes.
19· · · · Q· · And that was provided by Rachel Riley,
20· ·too?
21· · · · A· · Yes.· Well, actually, that was provided by
22· ·Dr. Memoli.· I don't know if Rachel Riley provided
23· ·that to him, I apologize.
24· · · · Q· · Okay.· So Dr. Memoli wrote the one on --
25· ·or provided you with the one on vaccine hesitancy?

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·1· · · · Q· · And it says:
·2· · · · · · ·"China:· Bolstering Chinese universities
·3· · · · · · · does not enhance the American people's
·4· · · · · · · quality of life or improve America's
·5· · · · · · · position in the world.· On the contrary,
·6· · · · · · · funding research in China contravenes
·7· · · · · · · American national security interests· and
·8· · · · · · · hinders America's foreign-policy
·9· · · · · · · objectives."
10· · · · · · ·Do you see that?
11· · · · A· · Yes.
12· · · · Q· · This language was provided by
13· ·Rachel Riley?
14· · · · A· · Yes.
15· · · · Q· · And then it says:
16· · · · · · ·"DEI:· Research programs based primarily
17· · · · · · · on artificial and non-scientific
18· · · · · · · categories, including amorphous equity
19· · · · · · · objectives, are antithetical to
20· · · · · · · scientific inquiry, do nothing to expand
21· · · · · · · our knowledge of living systems, provide
22· · · · · · · low returns on investment, and ultimately
23· · · · · · · do not enhance health, lengthen life, or
24· · · · · · · reduce illness.· Worse, so called
25· · · · · · · diversity, equity, and inclusion (DEI)

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·1· · · · · · · studies are often used to support
·2· · · · · · · unlawful discrimination on the basis of
·3· · · · · · · race and other protected characteristics,
·4· · · · · · · which harms the health of Americans.
·5· · · · · · · Therefore, it is the policy of NIH not to
·6· · · · · · · prioritize such research programs."
·7· · · · · · ·That language also was provided by
·8· ·Rachel Riley?
·9· · · · A· · Yes.
10· · · · Q· · And, finally, the transgender language
11· ·that we looked at before which was also provided by
12· ·Rachel Riley?
13· · · · A· · Yes.
14· · · · Q· · And it was provided by her in the form of
15· ·template letters to terminate grants?
16· · · · A· · Yes.
17· · · · · · ·MR. McGINTY:· Mark this as Exhibit 6,
18· ·please.
19· · · · · · ·(Bulls Deposition Exhibit 6 was marked for
20· · · · · · · identification.)
21· ·BY MR. McGINTY:
22· · · · Q· · I'm handing you what's been marked
23· ·Exhibit 6, and I'll represent to you that this was
24· ·also published in the Nature journal, and I've
25· ·printed it off of their website.

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·1· · · · A· · To help the Institutes and Centers with
·2· ·trying to figure out how to make awards, give them
·3· ·guidance.
·4· · · · Q· · Okay.· Give them guidance on making awards
·5· ·and also terminating awards, right?
·6· · · · A· · Making awards and making assessments on
·7· ·which categories they need to use to make those
·8· ·assessments.
·9· · · · Q· · Okay.· So this says, under Category 1,
10· ·"Add the action to the master spreadsheet"?
11· · · · A· · Yes.
12· · · · Q· · What's the master spreadsheet?
13· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· To the
14· ·extent the question calls for information that's
15· ·deliberative, I'm instructing the witness not to
16· ·answer.
17· ·BY MR. McGINTY:
18· · · · Q· · How does NIH keep track of the grants it
19· ·has terminated?
20· · · · A· · We do track it in a spreadsheet.
21· · · · Q· · Okay.· And what's on that spreadsheet?
22· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· To the
23· ·extent that the question is calling for information
24· ·that's deliberative and not final, I'm instructing
25· ·the witness not to answer.

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·1· ·BY MR. McGINTY:
·2· · · · Q· · Okay.· Does the spreadsheet contain
·3· ·information about grants that have been terminated?
·4· · · · A· · Yes.
·5· · · · Q· · Okay.· And do you use a spreadsheet to
·6· ·keep track of that?
·7· · · · A· · Yes.
·8· · · · Q· · Okay.· Does the spreadsheet indicate the
·9· ·reason that the grants were terminated?
10· · · · A· · Based on the categories, yes.
11· · · · Q· · Okay.· And that's the Category 1, 2, 3,
12· ·4 you have here?
13· · · · A· · No.· The categories that were provided in
14· ·the termination letters.
15· · · · Q· · Okay.· And which categories are those?
16· · · · A· · The categories of the DEI --
17· · · · Q· · Okay.· So going --
18· · · · A· · -- China.
19· · · · Q· · -- back to --
20· · · · A· · Yeah.
21· · · · Q· · -- what I think had been marked Exhibit 5,
22· ·page 5 of Exhibit 5?
23· · · · A· · Yes.
24· · · · Q· · So you're looking at China, DEI, and
25· ·transgender issues?

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·1· · · · A· · Yes.
·2· · · · Q· · Are there any other categories that
·3· ·designate the reason that a grant was terminated?
·4· · · · A· · Vaccine hesitancy is the one additional
·5· ·one.
·6· · · · Q· · Any others?
·7· · · · A· · No.
·8· · · · Q· · Okay.· And how do you know which of those
·9· ·categories to terminate a grant under?
10· · · · A· · Based on the letters that are provided
11· ·to -- you know, the list.· We receive a list.
12· · · · Q· · That's the list you get from Rachel Riley?
13· · · · A· · That's the list that I get from my
14· ·supervisor or, yeah, it's forwarded.
15· · · · Q· · Okay.· And does that list show which
16· ·category reason to terminate the grant for?
17· · · · A· · Yes.
18· · · · Q· · Okay.· How does it do that?
19· · · · A· · It has a category section.
20· · · · Q· · What's the form of this list?
21· · · · A· · It's a spreadsheet.
22· · · · Q· · It's a spreadsheet.· Okay.
23· · · · A· · So our spreadsheet matches that
24· ·spreadsheet.
25· · · · Q· · Did you, like, copy and paste into it?

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·1· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· To the
·2· ·extent the information sought is deliberative and
·3· ·not final in nature, I'm instructing the witness not
·4· ·to answer.
·5· ·BY MR. McGINTY:
·6· · · · Q· · Okay.· So you get a spreadsheet that tells
·7· ·you which grants to terminate and the reasons why?
·8· · · · A· · Yes.
·9· · · · Q· · And what are those reasons?
10· · · · A· · Based on the categories.
11· · · · Q· · Is it verbatim what I'm seeing her, China,
12· ·DEI --
13· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· To the
14· ·extent that this is calling for deliberative
15· ·information that has not been finalized, I'm
16· ·instructing the witness not to answer.
17· ·BY MR. McGINTY:
18· · · · Q· · Speaking only about grants that have
19· ·actually been terminated, the spreadsheet that you
20· ·get, what does it say for the reason that the grants
21· ·have been terminated?
22· · · · A· · The categories, you know, DEI,
23· ·transgender, you know.
24· · · · Q· · Is that verbatim?
25· · · · A· · I don't -- I can't tell you verbatim, but

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·1· ·it doesn't include all of this detail that was
·2· ·provided in the termination letter.· It just gives
·3· ·the title, the category.
·4· · · · Q· · So it says China, DEI, or transgender?
·5· · · · A· · Yes, and vaccine --
·6· · · · Q· · And vaccine?
·7· · · · A· · -- hesitancy.
·8· · · · Q· · Okay.· When you get that list and you get
·9· ·the template letters, do you get a letter for each
10· ·grant that you're going to terminate, or do you have
11· ·to do some kind of, like, word merge?
12· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· The
13· ·question is calling for provision of deliberative
14· ·information which is privileged.· I'm instructing
15· ·the witness not to answer.
16· ·BY MR. McGINTY:
17· · · · Q· · Okay.· But it's your testimony that the
18· ·reason that the grant is going to be terminated is
19· ·provided to you.· Is that right?
20· · · · A· · That's right.
21· · · · Q· · And you don't have any input into that?
22· · · · A· · I don't.
23· · · · Q· · Okay.· And you're testifying that the
24· ·template letter for each reason is provided to you.
25· ·Is that right?

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·1· · · · A· · Yes.
·2· · · · Q· · And you don't have any input into that
·3· ·either?
·4· · · · A· · I don't.
·5· · · · Q· · Okay.· And how many of these lists have
·6· ·you gotten to terminate grants?
·7· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· To the
·8· ·extent this information is deliberative and
·9· ·nonfinal, I'm instructing the witness not to answer.
10· ·BY MR. McGINTY:
11· · · · Q· · How many lists have you gotten for grants
12· ·that have been terminated?
13· · · · A· · More than five.
14· · · · Q· · And how many grants have you terminated on
15· ·the basis of these lists?
16· · · · A· · Lots of grants.· I don't know the number.
17· · · · Q· · More than a hundred?
18· · · · A· · More than a hundred.
19· · · · Q· · More than a thousand?
20· · · · A· · No.
21· · · · Q· · Somewhere between a hundred and a
22· ·thousand?
23· · · · A· · Somewhere between five hundred and a
24· ·thousand.
25· · · · Q· · Somewhere between five hundred and a

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·1· ·thousand.
·2· · · · A· · Mm-hmm.
·3· · · · · · ·MR. McGINTY:· This is Exhibit 7, I think
·4· ·we are on.
·5· · · · · · ·(Bulls Deposition Exhibit 7 was marked for
·6· · · · · · · identification.)
·7· ·BY MR. McGINTY:
·8· · · · Q· · Do you recognize this document?
·9· · · · A· · Yes.
10· · · · Q· · And you wrote this document, right?
11· · · · A· · I wrote it with Dr. Lauer, yes.
12· · · · Q· · Okay.· And what is it?
13· · · · A· · It's the supplemental -- it's the
14· ·beginning of the guidance providing agency -- I mean
15· ·ICs with guidance on how to unpause funding.
16· · · · Q· · And it does say that there is a
17· ·restriction.· What's the restriction that it gives
18· ·guidance about?
19· · · · A· · On spending funding related to DEI
20· ·activities on grants.
21· · · · Q· · Was there a definition of DEI activities
22· ·provided with this memo?
23· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· To the
24· ·extent the information sought is deliberative and
25· ·not final, I'm instructing the witness not to

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·1· · · · A· · No.
·2· · · · Q· · You wrote that?
·3· · · · A· · I wrote it.
·4· · · · · · ·MR. McGINTY:· We can go off the record.
·5· · · (Luncheon recess taken -- 12:03 to 1:08 p.m.)
·6· · · · · · ·MR. McGINTY:· Back on the record.· Go
·7· ·ahead and mark this, please.
·8· · · · · · ·(Bulls Deposition Exhibit 11 was marked
·9· · · · · · · for identification.)
10· ·BY MR. McGINTY:
11· · · · Q· · I'm handing you what's been marked
12· ·Exhibit 11.· Do you recognize this document?
13· · · · A· · Yes.
14· · · · Q· · And what is it?
15· · · · A· · A termination letter.
16· · · · Q· · And this is another one that you wrote,
17· ·right?
18· · · · A· · This is another one that I issued that was
19· ·written.
20· · · · Q· · I'll clarify.· You signed this, right?
21· · · · A· · Correct.
22· · · · Q· · Okay.· And you signed this on behalf of
23· ·Margaret Young?
24· · · · A· · Yes.
25· · · · Q· · And that's the same Margaret Young that we

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·1· ·were talking about earlier, the Chief Grants
·2· ·Management Officer at NICHD?
·3· · · · A· · Yes.
·4· · · · Q· · Why did you issue this on behalf of
·5· ·Margaret Young?
·6· · · · A· · I believe at that time because the letters
·7· ·were coming out quickly that I just issued them on
·8· ·behalf of the IC Chief GMO, and then they would
·9· ·handle the Notice of Reward.
10· · · · Q· · Did you talk to Margaret Young, before you
11· ·issued it, about issuing this letter?
12· · · · A· · No.
13· · · · Q· · Is this another one of the letters that
14· ·you got in a list?
15· · · · A· · Yes.
16· · · · Q· · And that list was sent to you by your
17· ·supervisor?
18· · · · A· · Yes.
19· · · · Q· · Who at the time was?
20· · · · A· · March 12th?· I can't recall.
21· · · · Q· · Okay.· And do you recall whether or not
22· ·Rachel Riley was cc'd on the e-mail you got that
23· ·terminated this grant as well?
24· · · · A· · I don't recall --
25· · · · Q· · Okay.

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·1· · · · A· · -- Rachel being on there.
·2· · · · Q· · You'd have to look at the e-mail to know?
·3· · · · A· · Yes.
·4· · · · Q· · And you did get this in an e-mail from
·5· ·your supervisor?
·6· · · · A· · An e-mail from my supervisor, a forwarded,
·7· ·probably.
·8· · · · Q· · A forwarded e-mail from your supervisor
·9· ·that had the spreadsheet that you were talking about
10· ·earlier?
11· · · · A· · All of them have spreadsheets.
12· · · · Q· · And that spreadsheet has the list of
13· ·grants to terminate?
14· · · · A· · Yes.· And a point of clarification, if I
15· ·may?
16· · · · · · ·MS. ANDRAPALLIYAL:· Sure.
17· · · · · · ·THE WITNESS:· Because the process was just
18· ·continuing to be a lot, we actually -- I did say to
19· ·the -- I asked the Chief Grants Management Officers
20· ·if they were okay with me just issuing the letter
21· ·and them issuing the Notice of Awards.· And they did
22· ·say that they were okay with that.· And I do have
23· ·some of that in writing.
24· ·BY MR. McGINTY:
25· · · · Q· · Great.· Thank you for that clarification.

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·1· · · · A· · Yeah.
·2· · · · Q· · By way of further clarification, did you
·3· ·have any input in saying whether or not this
·4· ·particular grant was going to be terminated?
·5· · · · A· · No.
·6· · · · Q· · And did you have any input in the language
·7· ·on this letter?
·8· · · · A· · No.
·9· · · · Q· · To your knowledge, did anyone at NIH have
10· ·input?
11· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· It calls
12· ·for the provision of deliberative information.· I'm
13· ·instructing the witness not to answer.
14· · · · · · ·MR. McGINTY:· Counsel, deliberative
15· ·process exemption only applies where an action has
16· ·not been taken.· I'm talking about terminating a
17· ·grant.
18· · · · · · ·MS. ANDRAPALLIYAL:· No, that's not true.
19· ·The deliberative process privilege applies to
20· ·pre-decisional communications that precede a final
21· ·action, so it does apply to actions that have
22· ·already been taken.
23· ·BY MR. McGINTY:
24· · · · Q· · Is there anything other than this letter
25· ·that explains why the grant was being terminated?

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·1· · · · A· · The spreadsheet.
·2· · · · Q· · The spreadsheet explains why?
·3· · · · A· · It doesn't explain, it just lists the
·4· ·category.
·5· · · · Q· · Okay.· Is there anything other than this
·6· ·letter and the spreadsheet?
·7· · · · A· · An e-mail.
·8· · · · Q· · An e-mail?
·9· · · · A· · Yes.
10· · · · Q· · An e-mail you got from your supervisor?
11· · · · A· · Yes.
12· · · · Q· · Anything other than this letter, that
13· ·spreadsheet, and the e-mail?
14· · · · A· · No.
15· · · · Q· · Okay.· Were either the spreadsheet or the
16· ·e-mail shared with the grant recipient?
17· · · · A· · No, not that I'm aware of.
18· · · · · · ·MR. McGINTY:· Mark this, please.
19· · · · · · ·(Bulls Deposition Exhibit 12 was marked
20· · · · · · · for identification.)
21· ·BY MR. McGINTY:
22· · · · Q· · I'm handing you what's been marked
23· ·Exhibit 12.· And do you recognize this document?
24· · · · A· · Yes.
25· · · · Q· · And what is it?

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·1· · · · A· · Termination letter.
·2· · · · Q· · And this is another termination letter
·3· ·that you signed?
·4· · · · A· · Yes.
·5· · · · Q· · And this one is to the Regents of the
·6· ·University of California, San Francisco.· And it's
·7· ·Project No. 1R01 AI186641-01 --
·8· · · · · · ·(Reporter requests clarification)
·9· · · · · · ·MR. McGINTY:· I'm sorry.· 1R01 AI186641-0.
10· ·BY MR. McGINTY:
11· · · · Q· · Is that correct?
12· · · · A· · Dash 01.
13· · · · Q· · And is this another one of the
14· ·terminations that you got in a list?
15· · · · A· · Yes.
16· · · · Q· · From your supervisor?
17· · · · A· · Yes.
18· · · · Q· · And this letter is dated March 18?
19· · · · A· · Yes.
20· · · · Q· · And who was your supervisor at that time?
21· · · · A· · I believe it was Jon Lorsch at that time,
22· ·for sure.
23· · · · Q· · Jon Lorsch?
24· · · · A· · Dr. Lorsch.
25· · · · Q· · Dr. Lorsch?

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·1· · · · A· · Yeah.
·2· · · · Q· · And, to your knowledge, did anyone at NIH
·3· ·have any input in whether or not this grant was
·4· ·going to be terminated?
·5· · · · A· · I don't know.
·6· · · · Q· · Would you know?
·7· · · · A· · I don't know.
·8· · · · · · ·MS. ANDRAPALLIYAL:· Objection, calls for
·9· ·speculation.
10· ·BY MR. McGINTY:
11· · · · Q· · You can answer.
12· · · · A· · I wouldn't know.
13· · · · Q· · And is there anything, other than this
14· ·letter, that explains why this grant was terminated?
15· · · · A· · The spreadsheet, the e-mail.
16· · · · Q· · Anything else?
17· · · · A· · No.
18· · · · Q· · Okay.· Did you ever talk to Dr. Lorsch
19· ·about this termination?
20· · · · · · ·MS. ANDRAPALLIYAL:· Go ahead.
21· · · · · · ·THE WITNESS:· No.
22· ·BY MR. McGINTY:
23· · · · Q· · Did he tell you why this grant was being
24· ·terminated?
25· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· Because

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·1· ·the question is seeking deliberative information, I
·2· ·instruct the witness not to answer.
·3· ·BY MR. McGINTY:
·4· · · · Q· · Let's go back very quickly to Exhibit 11.
·5· ·I just want to make sure that the grant project
·6· ·number is on the record.
·7· · · · · · ·Could you read that for me.
·8· · · · A· · Can I read -- I'm sorry?
·9· · · · Q· · The project number that was being
10· ·terminated.
11· · · · A· · Oh.· 5 U01 HD108779-04.
12· · · · Q· · Great.· And to whom -- what was the
13· ·institution this was issued to?
14· · · · A· · Regents of the University of Minnesota.
15· · · · Q· · Thank you.
16· · · · · · ·MR. McGINTY:· Mark that one, please.
17· · · · · · ·(Bulls Deposition Exhibit 13 was marked
18· · · · · · · for identification.)
19· ·BY MR. McGINTY:
20· · · · Q· · I hand you what's been marked Exhibit 13.
21· ·Do you recognize this document?
22· · · · A· · Yes.
23· · · · Q· · And what is it?
24· · · · A· · A termination letter.
25· · · · Q· · Okay.· And this one is a grant to the

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·1· ·Regents of the University of Colorado.· Is that
·2· ·right?
·3· · · · A· · That is correct.
·4· · · · Q· · And could you read the project number for
·5· ·me, please.
·6· · · · A· · Sure.· 1R21 HD115838-01.
·7· · · · Q· · And this is another one that was provided
·8· ·to you in a list from your supervisor?
·9· · · · A· · Yes.
10· · · · Q· · And the only thing to explain why that
11· ·grant was terminated is this letter, the spreadsheet
12· ·that was attached to that e-mail, and the e-mail
13· ·itself?
14· · · · A· · The e-mail itself doesn't explain it, it
15· ·just asks me to terminate it.· The spreadsheet
16· ·attached gives the category and the grant number.
17· · · · Q· · Okay.· And, to your knowledge, NIH didn't
18· ·do any assessment of this particular grant before it
19· ·was terminated?
20· · · · A· · I don't know.
21· · · · · · ·MR. McGINTY:· Mark that, please.
22· · · · · · ·(Bulls Deposition Exhibit 14 was marked
23· · · · · · · for identification.)
24· ·BY MR. McGINTY:
25· · · · Q· · I hand you what's been marked Exhibit 14.

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·1· ·Now, starting about halfway down the page, this
·2· ·appears to be an e-mail from you.· Is that right?
·3· · · · A· · Yes.
·4· · · · Q· · And what is this e-mail from you?
·5· · · · A· · A termination letter.
·6· · · · Q· · And did you start sending these in the
·7· ·form of an e-mail at some point?
·8· · · · A· · Yes.
·9· · · · Q· · When was that?
10· · · · A· · Likely around the same date of this
11· ·letter.
12· · · · Q· · Which is March 21, 2025?
13· · · · A· · Yeah, around that time.
14· · · · Q· · And why did you do that?
15· · · · A· · To be efficient.
16· · · · Q· · Why did you need to be efficient?
17· · · · A· · The letters were -- the spreadsheet had
18· ·many terminations on the list, so I did it to be
19· ·efficient.
20· · · · Q· · It was easier to send it in e-mail form
21· ·because there were so many to do?
22· · · · A· · Yeah.
23· · · · Q· · And who is the institution that this grant
24· ·was issued to?
25· · · · A· · University of Washington.

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·1· · · · Q· · And what's the project number?
·2· · · · A· · 5R01MD017573-03.
·3· · · · Q· · Okay.· And this one, I think you alluded
·4· ·to it already, but this one is also on the basis of
·5· ·the spreadsheet that you got?
·6· · · · A· · Yes.
·7· · · · Q· · And who sent you that spreadsheet?
·8· · · · A· · Probably it was forwarded to me by my
·9· ·supervisor.
10· · · · Q· · Forwarded from whom?
11· · · · A· · From Dr. Memoli.
12· · · · Q· · Dr. Memoli?
13· · · · A· · Yeah, at this point.· That's correct.
14· · · · Q· · And do you know if it was forwarded to
15· ·Dr. Memoli from anybody?
16· · · · · · ·MS. ANDRAPALLIYAL:· Objection, calls for
17· ·speculation, calls for a provision of deliberative
18· ·information.
19· ·BY MR. McGINTY:
20· · · · Q· · You can answer.
21· · · · · · ·MS. ANDRAPALLIYAL:· Objection.· To the
22· ·extent that it calls for the provision of
23· ·deliberative information, I would instruct the
24· ·witness not to answer.
25· · · · · · ·MR. McGINTY:· Can you explain the

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·1· ·privilege attaching to an e-mail that the person
·2· ·forwarded an e-mail.
·3· · · · · · ·MS. ANDRAPALLIYAL:· To the extent that the
·4· ·answer is -- that the answer would provide
·5· ·information that is deliberative, I would instruct
·6· ·the witness not to answer.
·7· ·BY MR. McGINTY:
·8· · · · Q· · Did any of the to or from or cc fields on
·9· ·that e-mail, or on the e-mails that were attached to
10· ·it, contain back-and-forth deliberative discussions?
11· · · · A· · Not that I'm aware of.
12· · · · Q· · Okay.· Do you recall if the e-mail that
13· ·Dr. Memoli -- was forwarded from Dr. Memoli, was
14· ·forwarded from anybody else?
15· · · · A· · I don't recall.
16· · · · Q· · Okay.· The only way to know that would be
17· ·from the e-mail?
18· · · · A· · Yes.
19· · · · Q· · Okay.
20· · · · · · ·MR. McGINTY:· Mark that.
21· · · · · · ·(Bulls Deposition Exhibit 15 was marked
22· · · · · · · for identification.)
23· ·BY MR. McGINTY:
24· · · · Q· · I pass you what has been marked
25· ·Exhibit 15.· Do you recognize this document?

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·1· · · · A· · Yes.
·2· · · · Q· · What is it?
·3· · · · A· · It is a termination letter.
·4· · · · Q· · And this is two-sided.· I'm sorry, I
·5· ·printed this double sided.
·6· · · · A· · That's okay.
·7· · · · Q· · And that's your signature at the end,
·8· ·right?
·9· · · · A· · Yes.
10· · · · Q· · Okay.· And this is another one of the
11· ·terminations on the basis -- that was sent to you on
12· ·a spreadsheet?
13· · · · A· · Yes.
14· · · · Q· · And what's the institution that received
15· ·this grant?
16· · · · A· · University of Washington.
17· · · · Q· · And what's the project number?
18· · · · A· · 1F31 AI181431-01A1.
19· · · · Q· · Okay.· And the only thing that would
20· ·explain why this grant was terminated is this letter
21· ·and the spreadsheet?
22· · · · A· · Yes.
23· · · · · · ·MS. ANDRAPALLIYAL:· Sorry.· Objection,
24· ·assumes facts not in evidence.
25· ·BY MR. McGINTY:

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·1· · · · Q· · What are the documents that would explain
·2· ·why this grant was terminated?
·3· · · · A· · The letter, the e-mail that was forwarded
·4· ·with the spreadsheet.
·5· · · · Q· · And that spreadsheet was forwarded to you
·6· ·from your supervisor?
·7· · · · A· · Yes.
·8· · · · Q· · And who is your supervisor at the time?
·9· · · · A· · I believe it was Dr. Lorsch.· There was a
10· ·transition period so.
11· · · · Q· · So either Dr. Lorsch or?
12· · · · A· · Dr. Bundesen.
13· · · · Q· · Okay.· Either Dr. Lorsch or Dr. Bundesen.
14· · · · · · ·And would Rachel Riley have been on any of
15· ·the to or from fields of that e-mail?
16· · · · A· · Not at that time, not during this time
17· ·period.
18· · · · Q· · Anyone else from HHS?
19· · · · A· · No.
20· · · · Q· · So did -- so that stopped at some point?
21· · · · A· · Yes.· I didn't see the to, where it
22· ·originated.· It was just coming from Dr. Memoli to
23· ·either Liza or Dr. Lorsch.
24· · · · Q· · And when did you stop being able to see
25· ·where it originated?

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·1· · · · A· · I don't even recall because I stopped
·2· ·looking down on the e-mails at that point.· It
·3· ·was -- yeah.
·4· · · · Q· · Before or after March 10?
·5· · · · A· · Probably after.
·6· · · · Q· · Sometime after March 10?
·7· · · · A· · Yes.
·8· · · · · · ·(Bulls Deposition Exhibit 16 was marked
·9· · · · · · · for identification.)
10· ·BY MR. McGINTY:
11· · · · Q· · I'm showing you what's been marked
12· ·Exhibit 16.· Do you recognize this?
13· · · · A· · Yes.
14· · · · Q· · And what is it?
15· · · · A· · A termination letter.
16· · · · Q· · And this is another one that you signed?
17· · · · A· · Yes.
18· · · · Q· · And who is the recipient of this grant?
19· · · · A· · University of Washington.
20· · · · Q· · And what's that project number?
21· · · · A· · 5R01LM013301-05.
22· · · · Q· · And this is another one that came to you
23· ·in the form of a spreadsheet listing the grants to
24· ·terminate?
25· · · · A· · Yes.

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·1· · · · Q· · And that was sent to you by your
·2· ·supervisor?
·3· · · · A· · Yes.
·4· · · · Q· · Which was who at this point?
·5· · · · A· · Dr. Lorsch.
·6· · · · Q· · That was Dr. Lorsch.
·7· · · · · · ·And you wouldn't have known who sent
·8· ·Dr. Lorsch this spreadsheet?
·9· · · · A· · Typically, like I said, I started seeing
10· ·just the e-mail forwarded from -- sent to Dr. Lorsch
11· ·from Dr. Memoli.
12· · · · Q· · Got it.
13· · · · A· · Yeah.
14· · · · Q· · So Dr. Memoli sent it to Dr. Lorsch.· Is
15· ·that right?
16· · · · A· · That is correct.
17· · · · Q· · Okay.· And do you know who sent it to
18· ·Dr. Memoli?
19· · · · A· · No.
20· · · · Q· · Okay.· Because that information was cut
21· ·off of the e-mail?
22· · · · A· · I don't know if it was cut off, it just
23· ·wasn't there.
24· · · · Q· · It wasn't on the e-mail?
25· · · · A· · No, it wasn't on the e-mail.

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·1· · · · Q· · Okay.
·2· · · · · · ·(Bulls Deposition Exhibit 17 was marked
·3· · · · · · · for identification.)
·4· ·BY MR. McGINTY:
·5· · · · Q· · I'm handing what's been marked Exhibit 17.
·6· ·Do you recognize this?
·7· · · · A· · Yes.
·8· · · · Q· · And what is this?
·9· · · · A· · A termination letter.
10· · · · Q· · And who is the institution it was issued
11· ·to?
12· · · · A· · University of Washington.
13· · · · Q· · And what's the project number?
14· · · · A· · 1G13LM014426-01.
15· · · · Q· · And this is another one that you got in a
16· ·spreadsheet?
17· · · · A· · Yes.
18· · · · Q· · And it was sent to you by your supervisor?
19· · · · A· · Yes.
20· · · · Q· · And do you know who sent the spreadsheet
21· ·to your supervisor?
22· · · · A· · During this period it was from Dr. Memoli
23· ·to -- I -- this is the foggy period, sorry.
24· · · · Q· · Okay.· You're not sure who your supervisor
25· ·was?

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·1· · · · A· · I'm sure who my supervisor was.· I'm just
·2· ·not sure of the period when it was, the different
·3· ·time frames.
·4· · · · Q· · That's fine.· It was either Bundesen or
·5· ·Lorsch?
·6· · · · A· · Right.
·7· · · · Q· · And do you know who sent it to Dr. Memoli?
·8· · · · A· · I don't recall during this time.· Yeah,
·9· ·I'm not sure if it was just forwarded from
10· ·Dr. Memoli to Liza or Jon to me.· Because, remember,
11· ·during a period of time, it was on the from with --
12· ·how do I say?· The person that it was sent from at
13· ·the department was on there, and at a point that
14· ·stopped.
15· · · · Q· · But when it was from someone from the
16· ·department, that was Rachel Riley?
17· · · · A· · The two times, yes.
18· · · · Q· · Okay.· Was there anyone else from HHS it
19· ·was sent from?
20· · · · A· · Not that I'm aware of.
21· · · · Q· · Okay.· So either it was Rachel Riley or
22· ·you didn't have the information?
23· · · · A· · Correct.
24· · · · Q· · Okay.· And this letter and the other
25· ·letters we've been looking at, this is still the

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·1· ·same template letter that was provided to you?
·2· · · · A· · Yes.
·3· · · · Q· · You didn't write one word in this letter?
·4· · · · A· · No, just signed it.
·5· · · · Q· · Okay.· And the only thing that would
·6· ·explain why this grant was terminated is this letter
·7· ·and the spreadsheet and the e-mail?
·8· · · · A· · Yeah, the spreadsheet that was attached to
·9· ·the e-mail.
10· · · · · · ·(Bulls Deposition Exhibit 18 was marked
11· · · · · · · for identification.)
12· ·BY MR. McGINTY:
13· · · · Q· · I'm handing you what's been marked
14· ·Exhibit 18.· Do you recognize this?
15· · · · A· · Yes.
16· · · · Q· · And what is it?
17· · · · A· · A termination letter.
18· · · · Q· · And this is another one that looks like it
19· ·was in e-mail form.· Is that right?
20· · · · A· · Yes, that's correct.
21· · · · Q· · And who is the institution it was issued
22· ·to?
23· · · · A· · University of Washington.
24· · · · Q· · And what's the project number?
25· · · · A· · 1R21AI183907-01A1.

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·1· · · · · · ·(Reporter requests clarification)
·2· · · · · · ·THE WITNESS:· "A" as in apple.
·3· ·BY MR. McGINTY:
·4· · · · Q· · And this is another termination that you
·5· ·issued on the basis of a spreadsheet that was sent
·6· ·to you?
·7· · · · A· · Yes.
·8· · · · Q· · And that was sent to you -- who sent you
·9· ·that spreadsheet?
10· · · · A· · Dr. Lorsch.
11· · · · Q· · Dr. Lorsch sent it to you.· And Dr. Memoli
12· ·sent it to Dr. Lorsch?
13· · · · A· · Correct.
14· · · · Q· · And the only thing that would explain why
15· ·this grant was terminated is this letter and the
16· ·e-mail and the spreadsheet?
17· · · · · · ·MS. ANDRAPALLIYAL:· Objection, assumes
18· ·facts not in evidence.
19· ·BY MR. McGINTY:
20· · · · Q· · What are the documents that would explain
21· ·why this grant was terminated?
22· · · · A· · The letter, the forwarded spreadsheet that
23· ·had the categories in there.
24· · · · Q· · Okay.· Anything else?
25· · · · A· · No.

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·1· · · · A· · Yes.
·2· · · · Q· · Okay.
·3· · · · · · ·MR. McGINTY:· Can I ask the court reporter
·4· ·how much time we've been on the record.
·5· · · · · · ·(Whereupon, the reporter discloses time
·6· · · · · · · spent on the record)
·7· · · · · · ·MR. McGINTY:· A little less than four
·8· ·hours?
·9· · · · · · ·MADAM COURT REPORTER:· Yes.
10· · · · · · ·MR. McGINTY:· I'll also note for the
11· ·record that we've been on the record for a little
12· ·less than four hours.
13· · · · · · ·(Bulls Deposition Exhibit 19 was marked
14· · · · · · · for identification.)
15· ·BY MR. McGINTY:
16· · · · Q· · I'm handing you what's been marked
17· ·Exhibit 19.
18· · · · · · ·MR. McGINTY:· Counsel.
19· · · · · · ·(Document tendered to Ms. Andrapalliyal)
20· ·BY MR. McGINTY:
21· · · · Q· · Do you recognize this document?
22· · · · A· · Yes.
23· · · · Q· · And what is it?
24· · · · A· · A termination letter.
25· · · · Q· · Okay.· And this is another one that you

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·1· ·signed, right?
·2· · · · A· · Yes.
·3· · · · Q· · Okay.· And who is the issuing
·4· ·institution -- or the institution that received the
·5· ·termination letter?
·6· · · · A· · University of Washington.
·7· · · · Q· · And what's that project number?
·8· · · · A· · 1R01 TW012904-01.
·9· · · · Q· · And this is another one that you got in a
10· ·spreadsheet from your supervisor?
11· · · · A· · Yes.
12· · · · Q· · Okay.· And where are the documents that
13· ·explain why the grant was terminated?
14· · · · A· · The spreadsheet and the request for me to
15· ·terminate.· And this letter right here, sorry.
16· · · · Q· · No, that's fine, that's fine.
17· · · · · · ·And, again, this was language -- the
18· ·language in this letter was provided to you?
19· · · · A· · Yes.
20· · · · Q· · And you didn't write one word in this
21· ·letter?
22· · · · A· · (Nodding head)
23· · · · Q· · Sorry, I didn't hear your answer.
24· · · · A· · No.· Sorry, no.
25· · · · · · ·(Bulls Deposition Exhibit 20 was marked

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·1· ·available?
·2· · · · · · ·MS. ANDRAPALLIYAL:· Objection, asked and
·3· ·answered.
·4· · · · · · ·THE WITNESS:· No.
·5· · · · · · ·MR. McGINTY:· Okay.· I think we're about
·6· ·to move into a new area.· It might be time to take a
·7· ·quick five or ten-minute break.· Can we go off the
·8· ·record.
·9· · · · · · ·(Recess taken - 2:29 to 2:50 p.m.)
10· · · · · · ·MR. McGINTY:· We can go back on the
11· ·record.
12· ·BY MR. McGINTY:
13· · · · Q· · Now, I know you have a big stack of
14· ·exhibits right in front of you.· And I'm going to
15· ·ask you to find Exhibit 3 which is the February 28th
16· ·letter to Dr. Tham.
17· · · · A· · Exhibit 3, you said?
18· · · · Q· · Oh, did I get the number wrong?
19· · · · · · ·No, not that one.· Maybe it's 4.
20· · · · A· · Okay.
21· · · · Q· · Yeah, 4.· Sorry.
22· · · · A· · Yeah.
23· · · · Q· · Okay.· So about a little more than halfway
24· ·down the page it says here in this letter:
25· · · · · · ·"It is the policy of NIH not to prioritize

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·1· · · · · · · these research programs."
·2· · · · · · ·Do you see that?
·3· · · · A· · Yes.
·4· · · · Q· · Okay.· And "these research programs,"
·5· ·meaning research programs based on gender identity,
·6· ·right?
·7· · · · A· · Yes.
·8· · · · Q· · Now, I just asked you to go through a lot
·9· ·of NIH policies, and your testimony was there is no
10· ·written final policy of NIH not to prioritize
11· ·research programs based on gender identity.
12· · · · · · ·That was your testimony, right?
13· · · · A· · Yes.
14· · · · Q· · So when this letter says it is the policy
15· ·of NIH not to prioritize these research programs,
16· ·that's not referring to any written policy, is it?
17· · · · · · ·MS. ANDRAPALLIYAL:· Objection, assumes
18· ·facts not in evidence.
19· · · · · · ·THE WITNESS:· I don't know what it was
20· ·intended to mean because I didn't write it.
21· ·BY MR. McGINTY:
22· · · · Q· · There is no effective and final NIH policy
23· ·that you are aware of not to prioritize research
24· ·programs based on gender identity.· Is that right?
25· · · · A· · That I know of, no.

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·1· · · · Q· · And in your role as Director of OPERA,
·2· ·would you expect to know about such a policy?
·3· · · · · · ·(Reporter requests clarification)
·4· · · · · · ·MR. McGINTY:· Director of OPERA.
·5· · · · · · ·MS. ANDRAPALLIYAL:· Objection, calls for
·6· ·speculation.
·7· · · · · · ·THE WITNESS:· I don't -- not necessarily.
·8· ·BY MR. McGINTY:
·9· · · · Q· · In your role as Director of OPERA, what
10· ·kind of policies do you oversee?
11· · · · A· · Grants administration policies and
12· ·grants -- internal policies for our grants managers,
13· ·which are called the NIH Grants Administration
14· ·Manuals, which is an internal document that supports
15· ·the external document which is the NIH Grants Policy
16· ·Statement.
17· · · · Q· · So those are all policies that apply to
18· ·NIH as a whole?
19· · · · A· · Yes.
20· · · · Q· · So the policies that you might not be
21· ·aware of would be policies that would apply to one
22· ·IC, for example?
23· · · · · · ·MS. ANDRAPALLIYAL:· Objection, calls for
24· ·speculation.
25· · · · · · ·THE WITNESS:· I don't know.

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·1· ·BY MR. McGINTY:
·2· · · · Q· · Do you know of policies within the ICs
·3· ·that you do not oversee?
·4· · · · A· · I don't know.
·5· · · · Q· · Okay.· And just to be clear, there is no
·6· ·NIH policy not to prioritize research programs based
·7· ·on gender identity that you are aware of?
·8· · · · A· · That -- that is clear.· No, not that I am
·9· ·aware of.
10· · · · Q· · Okay.
11· · · · A· · Can I ask a point of clarification?
12· · · · Q· · Please.
13· · · · A· · You are saying NIH policies, and I don't
14· ·see priorities as something that I would oversee.
15· · · · Q· · Sure.
16· · · · A· · You know?
17· · · · Q· · I understand.· I guess my question comes
18· ·from the part of the sentence where it says, "It is
19· ·the policy of NIH not to prioritize these research
20· ·programs."· So that's why I'm asking you about the
21· ·policies of NIH.
22· · · · A· · Okay.
23· · · · Q· · And you're not aware of any policy of NIH
24· ·not to prioritize those research programs?
25· · · · A· · No, I don't have any (indiscernible).

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·1· · · · · · ·(Reporter requests clarification)
·2· · · · · · ·THE WITNESS:· I don't have any insight on
·3· ·it.
·4· ·BY MR. McGINTY:
·5· · · · Q· · Okay.· So now let's go back to Exhibit 3.
·6· · · · A· · I don't know if I'll be able to find it
·7· ·now.
·8· · · · · · ·(Witness reviews documents)
·9· · · · · · ·THE WITNESS:· I just saw it.· Where did it
10· ·go?· It's running from me.· Maybe I'll look closer.
11· ·I have to re-order.
12· · · · · · ·(Witness reviews documents)
13· ·BY MR. McGINTY:
14· · · · Q· · I understand the papers get shuffled.
15· · · · · · ·Okay.· And we are looking at page 8616 on
16· ·Exhibit 3, and looking at Section 3(e).· The last
17· ·sentence there, it says:
18· · · · · · ·"Agencies shall take all necessary steps,
19· · · · · · · as permitted by law, to end the Federal
20· · · · · · · funding of gender ideology."
21· · · · · · ·Do you see that?
22· · · · A· · Yes.
23· · · · Q· · Has NIH, to your knowledge, terminated any
24· ·grants implementing that sentence?
25· · · · · · ·MS. ANDRAPALLIYAL:· Objection, calls for a

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·1· ·legal conclusion, calls for speculation.
·2· · · · · · ·THE WITNESS:· We terminated it based on
·3· ·the language in the letter.
·4· ·BY MR. McGINTY:
·5· · · · Q· · Is it your testimony that the language in
·6· ·the letter had no connection to the sentence that I
·7· ·just read?
·8· · · · · · ·MS. ANDRAPALLIYAL:· Objection, calls for
·9· ·speculation, calls for a legal conclusion, assumes
10· ·facts not in evidence.
11· · · · · · ·THE WITNESS:· I don't know what the
12· ·intention was for the two.· I don't know.
13· ·BY MR. McGINTY:
14· · · · Q· · The language in the letter was given to
15· ·you.· Is that right?
16· · · · A· · Yes.
17· · · · Q· · And you don't know why it was written.· Is
18· ·that right?
19· · · · A· · I don't know.
20· · · · Q· · Okay.· Let's go to Section 3(g) of this
21· ·same Executive Order.
22· · · · A· · Okay.
23· · · · Q· · It says:
24· · · · · · ·"Federal funds shall not be used to
25· · · · · · · promote gender ideology.· Each agency

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·1· · · · · · · shall assess grant conditions and grantee
·2· · · · · · · preferences to ensure grants funds do not
·3· · · · · · · promote gender ideology."
·4· · · · · · ·See that?
·5· · · · A· · Yes.
·6· · · · Q· · To your knowledge, has NIH terminated any
·7· ·grants in implementing this section of this
·8· ·Executive Order?
·9· · · · · · ·MS. ANDRAPALLIYAL:· Objection, calls for a
10· ·legal conclusion, calls for speculation.
11· · · · · · ·THE WITNESS:· To my knowledge, the letter
12· ·terminates the grant and the language is in the
13· ·termination letter.
14· ·BY MR. McGINTY:
15· · · · Q· · Okay.· And the reason that the grants were
16· ·terminated, if I understand your prior testimony
17· ·correctly, is stated in the letter and it's stated
18· ·in the spreadsheet that states which grants you are
19· ·going to terminate.· Is that right?
20· · · · A· · Yeah, the spreadsheet, remember, I was
21· ·telling you, it has the categories, like, Y, you
22· ·know, D, I, that kind of thing.
23· · · · Q· · Okay.· Are you familiar with the START
24· ·platform?
25· · · · A· · No.

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